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          10       WHATSAPP INC. and FACEBOOK, INC.

          11
                                                 UNITED STATES DISTRICT COURT
          12
                                             NORTHERN DISTRICT OF CALIFORNIA
          13

          14
                   WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
          15       and FACEBOOK, INC., a Delaware
                   corporation,                                  [PROPOSED] ORDER GRANTING
          16                                                     WHATSAPP’S MOTION TO DISQUALIFY
                                                                 DEFENSE COUNSEL BASED ON PRIOR
          17                       Plaintiffs,                   REPRESENTATION IN A SEALED MATTER

          18             v.                                      Hon. Phyllis J. Hamilton

          19       NSO GROUP TECHNOLOGIES LIMITED
                   and Q CYBER TECHNOLOGIES LIMITED,
          20
                                   Defendants.
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                                                                          [PROPOSED] ORDER GRANTING WHATSAPP’S
  COOLEY LLP
ATTORNEYS AT LAW                                             1                    MOTION TO DISQUALIFY COUNSEL
 SAN FRANCISCO                                                                        CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 47-9 Filed 04/10/20 Page 2 of 2



            1              Before the Court is WhatsApp’s Motion to Disqualify Defense Counsel Based on Prior

            2      Representation in a Sealed Matter. Having considered the parties’ papers filed in connection with the

            3      motion, and all other matters properly considered by this Court, the Court finds that King & Spalding’s

            4      representation of Defendants in this matter is substantially related to its prior representation of

            5      WhatsApp Inc. and also that King & Spalding possesses WhatsApp’s confidential information that is

            6      material to this litigation. Accordingly, WhatsApp’s motion is GRANTED. It is further ORDERED

            7      THAT:

            8              King & Spalding shall withdraw from this case within two days of the date on which this order

            9      is issued; and

          10               Defendants shall have fourteen days from the date on which this order is issued to find new

          11       counsel and have them enter an appearance in this matter.

          12       IT IS SO ORDERED.

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                   Dated: _________________
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          16                                                     Honorable Phyllis J. Hamilton
                                                                 United States District Court Judge
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                                                                                [PROPOSED] ORDER GRANTING WHATSAPP’S
  COOLEY LLP
ATTORNEYS AT LAW                                                    2                   MOTION TO DISQUALIFY COUNSEL
 SAN FRANCISCO                                                                              CASE NO. 4:19-CV-07123-PJH
